       Case 19-34054-sgj11 Doc 229 Filed 12/10/19                                    Entered 12/10/19 17:17:48                      Page 1 of 2

 Information to identify the case:
 Debtor
                   Highland Capital Management, L.P.                                            EIN _ _−_ _ _ _ _ _ _
                   Name


 United States Bankruptcy Court Northern District of Texas
                                                                                                Date case filed for chapter 11 10/16/19
 Case number: 19−34054−sgj11


Official Form 309F (For Corporations or Partnerships)

Notice of Chapter 11 Bankruptcy Case                                                                                                                   12/17

For the debtor listed above, a case has been filed under chapter 11 of the Bankruptcy Code. An order for relief has
been entered.
This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.
The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not take action to collect debts
from the debtor or the debtor's property. For example, while the stay is in effect, creditors cannot sue, assert a deficiency, repossess property, or
otherwise try to collect from the debtor. Creditors cannot demand repayment from the debtor by mail, phone, or otherwise. Creditors who violate the stay
can be required to pay actual and punitive damages and attorney's fees.
Confirmation of a chapter 11 plan may result in a discharge of debt. A creditor who wants to have a particular debt excepted from discharge may be
required to file a complaint in the bankruptcy clerk's office within the deadline specified in this notice. (See line 11 below for more information.)
To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at the address listed below or
through PACER (Public Access to Court Electronic Records at www.pacer.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

Do not file this notice with any proof of claim or other filing in the case.



  1. Debtor's full name                       Highland Capital Management, L.P.


  2. All other names used in the
     last 8 years

                                              300 Crescent Court
  3. Address                                  Suite 700
                                              Dallas, TX 75201

                                              John A. Morris                                             Contact phone 212−561−7700
  4. Debtor's attorney                        Pachulski Stang Ziehl & Jones LLP
      Name and address                        780 Third Avenue, 34th Floor                               Email: jmorris@pszjlaw.com
                                              New York, NY 10017

  5. Bankruptcy clerk's office                                                                           Hours open:
      Documents in this case may be filed                                                                Mon.−Fri 8:30−4:30
      at this address.                        1100 Commerce Street
      You may inspect all records filed in    Room 1254                                                  Contact phone 214−753−2000
      this case at this office or online at   Dallas, TX 75242
      www.pacer.gov.
                                                                                                         Date: 12/11/19

  6. Meeting of creditors                                                                                Location:
      The debtor's representative must    January 9, 2020 at 11:00 AM
      attend the meeting to be questioned                                                                Office of the U.S. Trustee, 1100
      under oath.                         The meeting may be continued or adjourned to a later
      Creditors may attend, but are not   date. If so, the date will be on the court docket.
                                                                                                         Commerce St.,Room 976, Dallas, TX
      required to do so.                                                                                 75242

                                                                                                           For more information, see page 2 >




Official Form 309F (For Corporations or Partnerships)                    Notice of Chapter 11 Bankruptcy Case                                         page 1
       Case 19-34054-sgj11 Doc 229 Filed 12/10/19                                   Entered 12/10/19 17:17:48                       Page 2 of 2
Debtor Highland Capital Management, L.P.                                                                               Case number 19−34054−sgj11


  7. Proof of claim deadline                 Deadline for filing proof of claim: 4/8/20 For a governmental unit:

                                             A proof of claim is a signed statement describing a creditor's claim. A proof of claim form may be obtained
                                             at www.uscourts.gov or any bankruptcy clerk's office.

                                             Your claim will be allowed in the amount scheduled unless:

                                                     • your claim is designated as disputed, contingent, or unliquidated;
                                                     • you file a proof of claim in a different amount; or
                                                     • you receive another notice.
                                             If your claim is not scheduled or if your claim is designated as disputed, contingent, or unliquidated, you
                                             must file a proof of claim or you might not be paid on your claim and you might be unable to vote on a plan.
                                             You may file a proof of claim even if your claim is scheduled.

                                             You may review the schedules at the bankruptcy clerk's office or online at www.pacer.gov.

                                             Secured creditors retain rights in their collateral regardless of whether they file a proof of claim. Filing a
                                             proof of claim submits a creditor to the jurisdiction of the bankruptcy court, with consequences a lawyer can
                                             explain. For example, a secured creditor who files a proof of claim may surrender important nonmonetary
                                             rights, including the right to a jury trial.


  8. Exception to discharge                  If § 523(c) applies to your claim and you seek to have it excepted from discharge, you must start a judicial
     deadline                                proceeding by filing a complaint by the deadline stated below.
      The bankruptcy clerk's office must
      receive a complaint and any
      required filing fee by the following   Deadline for filing the complaint: __________
      deadline.


                                             If you are a creditor receiving notice mailed to a foreign address, you may file a motion asking the court to
  9. Creditors
     address
               with a foreign                extend the deadlines in this notice. Consult an attorney familiar with United States bankruptcy law if you
                                             have any questions about your rights in this case.


                                             Chapter 11 allows debtors to reorganize or liquidate according to a plan. A plan is not effective unless the
                                             court confirms it. You may receive a copy of the plan and a disclosure statement telling you about the plan,
  10. Filing a Chapter 11
      bankruptcy case
                                             and you may have the opportunity to vote on the plan. You will receive notice of the date of the confirmation
                                             hearing, and you may object to confirmation of the plan and attend the confirmation hearing. Unless a
                                             trustee is serving, the debtor will remain in possession of the property and may continue to operate its
                                             business.


                                             Confirmation of a chapter 11 plan may result in a discharge of debts, which may include all or part of your
                                             debt. See 11 U.S.C. § 1141(d). A discharge means that creditors may never try to collect the debt from the
  11. Discharge of debts                     debtor except as provided in the plan. If you want to have a particular debt owed to you excepted from the
                                             discharge under 11 U.S.C. § 1141(d)(6)(A), you must start a judicial proceeding by filing a complaint and
                                             paying the filing fee in the bankruptcy clerk's office by the deadline.




Official Form 309F (For Corporations or Partnerships)                    Notice of Chapter 11 Bankruptcy Case                                          page 2
